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  AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)             ‫ ܆‬Original    ‫ ܆‬Duplicate Original


                LODGED
         CLERK, U.S. DISTRICT COURT
                                              UNITED STATES DISTRICT COURT
                                                                                                                  FILED
         4/11/2024                                             for the                                  CLERK, U.S. DISTRICT COURT


      CENTRAL DISTRICT OF CALIFORNIA
                    CDO
       BY: ____________BB______ DEPUTY                                                                     April 11, 2024
                                                    Central District of California
                                                                                                                  CLD
                                                                                                     CENTRAL DISTRICT OF CALIFORNIA

   United States of America
                                                                                                       BY: ___________________ DEPUTY




                                         v.
                                                                         Case No.     2:24-mj-02125-DUTY
   ,33(,0,=8+$5$

                           Defendant(s)


                                          CRIMINAL COMPLAINT BY TELEPHONE
                                         OR OTHER RELIABLE ELECTRONIC MEANS

      I, the complainant in this case, state that the following is true to the best of my knowledge and

  belief. 2Q Rr about -XQH   in the county of Los Angeles in the Central District of California

  DQGHOVHZKHUH the defendant violated:

                Code Section                                             Offense Description
                86&                                          %DQN)UDXG


            This criminal complaint is based on these facts:

              Please see attached affidavit.

            _ Continued on the attached sheet.


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                                                                                        Complainant’s signature
                                                                                    &KULV6H\PRXU6$,56&,
                                                                                         Printed name and title
   Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

   Date:                        April 11, 2024
                                                                                           Judge’s signature

   City and state: Los Angeles, California                                 +RQ$OND6DJDU860DJLVWUDWH-XGJH
                                                                                           Printed name and title

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                               AFFIDAVIT

     I, Chris Seymour, being duly sworn, declare and state as

follows:

                       I.   PURPOSE OF AFFIDAVIT
     1.      This affidavit is made in support of a criminal

complaint against, and arrest warrant for, IPPEI MIZUHARA

(“MIZUHARA”) for a violation of 18 U.S.C. § 1344(2) (Bank

Fraud).

     2.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

arrest warrant and does not purport to set forth all of my

knowledge of or investigation into this matter.         Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and part only, all amounts or sums are approximate, and all

dates and times are on or about those indicated.

      II.     BACKGROUND OF IRS-CI SPECIAL AGENT CHRIS SEYMOUR
     3.      I am a Special Agent (“SA”) with the Internal Revenue

Service, Criminal Investigation (“IRS-CI”), and have served in

this capacity since February 2001.       I have been trained in

accounting and financial investigative techniques at the Federal

Law Enforcement Training Center.        I personally have conducted

and assisted in numerous investigations of criminal violations
of the Internal Revenue laws, the Bank Secrecy Act, and Money


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Laundering Control Act.     Many of these investigations focused on

individuals deriving income from both legal and illegal sources

and individuals preparing false federal income tax returns.

These investigations have involved the use of electronic and

physical surveillance; the use of informants and cooperating

witnesses; undercover transactions; financial and telephone toll

analysis; the preparation and execution of search warrants, and,

among other things, arrests.      I have spoken with informants,

suspects, and cooperating defendants, and consulted with other

senior investigators concerning the methods and practices of

individuals involved in the preparation of false income tax

returns, income tax evasion, money laundering, identity theft,

and financial crimes.    My formal education includes a Bachelor

of Science degree in Business Administration, and a Master’s

degree in Business Administration with an emphasis in

accounting.

                   III. SUMMARY OF PROBABLE CAUSE
     4.   Between November 2021 and January 2024, more than
$16,000,000 was transferred via wire from a checking account

belonging to Victim A, a professional baseball player, with an

account number ending x5848 (the “x5848 Account”), held at a

domestic financial institution (“Bank A”).1 These funds were

transferred to bank accounts of associates of an operator of an

illegal sports book (“BOOKMAKER 1”).



     1 According to the website for the Federal Deposit Insurance
Corporation (“FDIC”), Bank A is FDIC insured.


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     5.    In an interview with law enforcement, Victim A stated

that he did not authorize these transfers from the x5848

Account.

     6.    The transfers from the x5848 Account were made from

devices and IP addresses associated with IPPEI MIZUHARA, an

individual who was, until recently, employed as Victim A’s

translator and de facto manager.        Text messages on MIZUHARA’s

mobile phone show that in September 2021 MIZUHARA began gambling

with BOOKMAKER 1’s illegal sports book, and began losing

substantial sums of money in late 2021.        Bank A records show

that during the same time period, the contact information on the

x5848 Account was changed to link the x5848 Account to

MIZUHARA’s phone number, and to an anonymous email account which

is connected to MIZUHARA based on data found on MIZUHARA’s

mobile phone.

     7.    Recorded phone calls produced by Bank A related to the

x5848 Account show MIZUHARA falsely identifying himself as

Victim A, and attempting to trick and deceive Bank A employees
into authorizing wire transfers from the x5848 Account to

associates of BOOKMAKER 1.

     8.    Bank A records show that MIZUHARA accessed the x5848

Account pretending to be Victim A and transferred funds to

associates of BOOKMAKER 1.     In particular, on June 20, 2023,

MIZUHARA accessed the x5848 Account from the Central District of

California pretending to be Victim A and wire transferred

$500,000 to an associate of BOOKMAKER 1.




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     9.      Finally, on March 20, 2024, MIZUHARA sent BOOKMAKER 1

an encrypted text message admitting that he (MIZUHARA) had

stolen funds from Victim A.

                   IV.   STATEMENT OF PROBABLE CAUSE
     10.     Based on my conversations with other law enforcement

officers and investigators who participated in this

investigation, my review of wire and banking records, and my own

observations and knowledge of the investigation, I know the

following:

A.   The Illegal Bookmaking Investigation

     11.     IRS-CI, as well as agents of the Department of

Homeland Security – Homeland Security Investigations (“HSI”),

(collectively, the “Investigative Team”) have been investigating

illegal sports bookmaking organizations operating in Southern

California, and the laundering of the proceeds of these

operations through casinos in Las Vegas, Nevada.

     12.     To date, these investigations have led to criminal

charges and/or convictions of 12 criminal defendants and one

money service business, as well as non-prosecution agreements

with two Las Vegas casinos. The investigations remain ongoing

and have multiple targets, not all of whom are related to each

other. One such target is BOOKMAKER 1.

     13.     On October 3, 2023, the Honorable A. Joel Richlin,

United States Magistrate Judge, authorized a search of

BOOKMAKER 1’s residence, person, and cell phone.




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B.   Evidence Seized from BOOKMAKER 1 Confirmed BOOKMAKER 1’s

     Involvement in the Operation of an Illegal Sports

     Bookmaking Business

     14.     I and/or other members of the Investigative Team that

I have spoken with have reviewed a forensic image of a mobile

phone seized from BOOKMAKER 1 during the execution of the above-

referenced search warrant.     BOOKMAKER 1’s phone included

numerous communications indicative of the operation of a large

illegal sports bookmaking business, including URL addresses for

two websites that BOOKMAKER 1 used to facilitate the operation

of his illegal gambling business, identified herein as Website 1

and Website 2. Based on this review, I am aware of the

following:

             a.   On or about November 3, 2019, BOOKMAKER 1

messaged an apparent bettor stating that he/she owed BOOKMAKER 1

$15,972, and instructed the bettor to wire the funds to an

account at Bank A ending in x1911 (the “x1911 Account”) in the

name of BOOKMAKER 1’s associate (“Associate 1”).
             b.   On or about November 23, 2020, an apparent bettor

requested that BOOKMAKER 1 personally book his/her bets.

BOOKMAKER 1 responded that this was not feasible because

BOOKMAKER 1 had over 600 bettors, but sent the apparent bettor

an account number, password, and URL for Website 2.

             c.   On August 16, 2022, BOOKMAKER 1 messaged an

apparent bettor directing them to ship $25,000 in cash to an

agent of BOOKMAKER 1’s bookmaking business at an address in




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Colorado, as payment for gambling losses incurred by the

apparent bettor.

           d.   On or about October 1, 2023, an employee at a

casino located in Las Vegas, Nevada (“Casino A”), sent a group

text message introducing BOOKMAKER 1 to a potential bettor.           In

the group message, the Casino A employee introduced the

potential bettor to BOOKMAKER 1 by telling the potential bettor

that BOOKMAKER 1 “takes big action and can give you whatever u

need.”

C.   Text Messages Confirm that MIZUHARA Was a Bettor with

     BOOKMAKER 1’s Illegal Sports Book

     15.   I and/or members of the Investigative Team that I have

spoken with have reviewed a forensic image of a mobile phone

belonging to MIZUHARA (the “MIZUHARA Phone”).2        Based on a review

of this image, as well as my training and experience, and review

of additional messages from BOOKMAKER 1’s phone, I am aware that

the MIZUHARA Phone contained hundreds of pages of text messages

with a phone number which I know to be associated with BOOKMAKER
1, as well as messages with a phone number I know to be

associated with BOOKMAKER 1’s agent or partner (“BOOKMAKER 2”).

These communications between MIZUHARA, BOOKMAKER 1, and

BOOKMAKER 2 include the following:




     2 On March 21, 2024, HSI agents intercepted MIZUHARA at the
Los Angeles International Airport after he deboarded from an
international flight from South Korea and seized the MIZUHARA
Phone. MIZUHARA subsequently signed a consent form consenting
to the search of the MIZUHARA Phone.

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           a.   On or about September 8, 2021, BOOKMAKER 2

messaged MIZUHARA and provided MIZUHARA an account number,

password, and URL for Website 1.        Specifically, BOOKMAKER 2

assigned MIZUHARA account number “35966.”

           b.   On or about September 24, 2021, MIZUHARA messaged

BOOKMAKER 2, “IĜve just been messing around with soccer, thereĜs

games on 24/7 lol.    I took UCLA but they lost outright!!!”

           c.   On or about September 24, 2021, MIZUHARA messaged

BOOKMAKER 2, “How does the withdrawing and paying work?”

BOOKMAKER 2 responded later that day, “He pays and collects as

the week ends Sunday night[.]      Whatever you are up or down

Sunday night you pay or receive[.]        Last week you were down and

he rolled it as hebs ok with it[.]       I say have a settle figure[.]

Meaning pick a number you want to settle at either way[.]”

           d.   On or about October 27, 2021, BOOKMAKER 2

messaged MIZUHARA, “[BOOKMAKER 1] asked me to reach out to you

. . .   he sees you playing and wants to settle this by

tomorrow[.] I can meet you or one his runners can.” MIZUHARA
responded, “I’m back in Anaheim now, is there any way to pay

[BOOKMAKER 1] via credit or debit card . . . I can wire the

amount to his bank account. Do you know what bank he uses?”

           e.   On or about October 28, 2021, BOOKMAKER 2

messaged MIZUHARA “[BOOKMAKER 1] asked me if you wired[.] I told

him I wasnbt sure[.] Let me know so I can tell him.”

           f.   On or about October 31, 2021, MIZUHARA messaged

BOOKMAKER 2, “I had a [sic] email from my bank saying I need
more information on the recipient. They said I need [the wire


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recipient’s] full address including city state and zip. As soon

as I give them that Info [sic], the wire will go through. . .

They told me the money will be available on 11/1 for sure.

Please tell [BOOKMAKER 1] I apologize for the delay . . . . Ibve

never done a wire transfer. . . .”

           g.   On or about November 2, 2021, BOOKMAKER 2

messaged MIZUHARA, “Hey [BOOKMAKER 1] asked if it was sent.”

MIZUHARA responded, “I tried sending it two days in a row and it

keeps getting cancelled . . . . I might need to send less amount

at a time . . . . can u ask him if I can send a smaller amount?

Maybe like 15000 at a time? I will send it on back to back days

. . . . Sorry for being a pain in the ass.”

           h.   On or about November 4, 2021, MIZUHARA messaged

BOOKMAKER 2, “The bank wire keeps getting cancelled . . . I’m

gonna use PayPal to send the money. . . . Can I please get

[Associate 2’s] phone number? I need to put it in the system[.]

Whatever phone number he has for the [] Checking account.”           The

following day, MIZUHARA stated, “PayPal is not working. They
said I can’t send that much money since I’m in Japan right now.”

           i.   On or about November 6, 2021, MIZUHARA told

BOOKMAKER 2, “The wire did not work. . . . do you have a [Bank

A] account by any chance?     I think it’s easier if it’s the same

bank.”   Two days later, BOOKMAKER 2 provided MIZUHARA with

Associate 1’s bank account information at Bank A for the x1911

Account.




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           j.    On or about November 9, 2021, MIZUHARA told

BOOKMAKER 2 that he has “tried almost every option possible and

none of it is working. . . . this is super stressing.”

           k.    On or about November 10, 2021, MIZUHARA told

BOOKMAKER 2 that he “was able to send 40k to [Associate 2]. It

looks like this method word [sic] but I can only send 40k at a

time.”

           l.    On or about November 15, 2021, MIZUHARA told

BOOKMAKER 2 to tell BOOKMAKER 1 that “Ibm going to send him 50k

to [Associate 2]’s account again? It might take 5-7 business

days.”

           m.    On or about December 8, 2021, MIZUHARA told

BOOKMAKER 2, “I put in a request to wire 50k through xoom

service via PayPal. I will let you know once they accept it.”3
           n.    On or about January 2, 2022, MIZUHARA asked

BOOKMAKER 2 if BOOKMAKER 1 could “reload my account? I lost it

all.” BOOKMAKER 2 responded, “[BOOKMAKER 1] bumped you 50k.”4
           o.    On or about January 15, 2022, MIZUHARA told
BOOKMAKER 2, “Fuck I lost it all lol . . . can you ask



     3 According to Xoom’s website, it is a “PayPal Service” for
sending money abroad.
      4Based on my training, experience, and knowledge of the
investigation, I know that “bump” is slang in illegal bookmaking
to refer to increasing the credit line of a bettor who owes the
bookmaker money up to their current limit. For example, a bettor
who has a credit limit of $100,000, and owes the bookmaker
$100,000, might ask for a “bump” up to a $150,000 limit, thus
allowing the bettor to gamble further, in hopes of making up
some of their losses. I also know that “bumps” are one method
illegal bookmakers use to keep gamblers engaged while
encouraging them to pay their balance to the bookmaker.

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[BOOKMAKER 1] if he can bump me 50k? That will be my last one

for a while if I lose it.”

           p.    On or about February 1, 2022, MIZUHARA told

BOOKMAKER 2, “The wire. . . Should be there by end of tomorrow.”

           q.    On or about February 4, 2022, MIZUHARA told

BOOKMAKER 2, “the last transaction got cancelled as well . . . I

went to the teller and everything should be sorted out . . . . I

made another transfer for 300k today since I lost the other 100k

already” and later that day confirmed, “Wire went through!”

           r.    On or about February 28, 2022, BOOKMAKER 1

messaged MIZUHARA stating “Hi [MIZUHARA]. I hope u had a great

weekend. Other wire still hasn’t been received. Can u just wire

the 200” and then provided MIZUHARA with the x1911 Account

information.    BOOKMAKER 1 then sent MIZUHARA another message

stating, “I will give you the FreePlay that I was going to give

to [BOOKMAKER 2] since you had such a rough stretch. Please let

me know or send me a screenshot when wire sent.”5
           s.    On or about March 6, 2022, MIZUHARA messaged
BOOKMAKER 1 stating, “Anyway you can bump me a little bit? I

will wire you my losses on Wednesday if that is ok.          I need to

wait a week to send another big wire.”

           t.    On or about March 10, 2022, MIZUHARA messaged

BOOKMAKER 1 stating, “Thank you, can you put in 100k instead of



      5Based on my training, experience, and knowledge of the
investigation, I know that “freeplay” generally refers to
betting where a gambler is not required to pay for any betting
loses.

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300k?” BOOKMAKER 1 responded, “U mean lower credit to 100?”

MIZUHARA confirmed, “Yea, I’ll get too reckless with 300.”

               u.    On or about May 16, 2023, MIZUHARA messaged

BOOKMAKER 1 stating, “I sent out 500 just now.          I tried 1000 but

it won’t let me for some reason. . . . I will send another 500

tomorrow or the day after.”

               v.    On or about June 20, 2023, MIZUHARA messaged

BOOKMAKER 1 stating, “It looks like I can only send 500 per

week. . . . I put in a wire for 500 earlier today so it should

be in your account by tomorrow. . . . does 500/week work for

you?”

        16.    Based on my review of bank records and messages

extracted from the BOOKMAKER 1’s Phone, I am aware that MIZUHARA

had his gambling winnings from BOOKMMAKER 1 deposited into his

(MIZUHARA’s) personal bank account.        For example:

               a.    In or about May 2022, BOOKMAKER 1 communicated

with an associate saved in BOOKMAKER 1’s phone as “[Name] Indian

Book.”        Based on my training, experience, and the context of the
saved contact information, I believe this individual to be

involved in bookmaking (“BOOKMAKER 3”).

               b.    On or about May 18, 2022, BOOKMAKER 3 asked

BOOKMAKER 1, “Send me wire info please.”         Later that day,

BOOKMAKER 1 responded with a screenshot of wire information for

an account ending in x9877 and a message stating “Name of

account is. ippei Mizuhara.”       Bank A subsequently provided

records that confirmed that the account ending in x9877 is in




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fact registered in the name of MIZUHARA (hereinafter, the

“MIZUHARA Account”).

            c.   Based on my review of messages extracted from the

MIZUHARA Phone, I am aware that on or about May 19, 2022,

BOOKMAKER 1 messaged MIZUHARA, stating “I hope ur having a great

day. I was just confirming that you received the ach [wire

transfer] for the 47,260? Also just confirming you still want me

to wire more before I do? I see your [sic] down now so Lmk? Ty

bud.”   MIZUHARA responded the same day, “Yes I received it,

thank you very much. And no you do not need to wire anymore

since I’m down again haha.”

            d.   Based on my review of bank records, I am aware

that on May 18, 2022, the MIZUHARA Account received a wire

transfer for $47,260.

      17.   After May 2022, the text messages from the MIZUHARA

Phone show that MIZUHARA had a “bad run.” Despite owing

BOOKMAKER over one million dollars in losses, BOOKMAKER 1

continually increased MIZUHARA’s betting limits.          For example,
based on my review of messages extracted from the MIZUHARA

Phone, I am aware that:

            a.   On or about November 14, 2022, MIZUHARA messaged

BOOKMAKER 1 stating “I’m terrible at this sport betting thing

huh? Lol . . . Any chance u can bump me again?? As you know, you

don’t have to worry about me not paying!!”

            b.   On or about December 9, 2022, MIZUHARA messaged

BOOKMAKER 1 stating “Can u bump me last 200? I swear on my mom
this will be the last ask before I pay it off once I get back to


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the states.     Sorry for keep on asking. . . .”      BOOKMAKER 1

responded the same day stating, “Np done bud. Merry Christmas.”

           c.    On May 20, 2023, BOOKMAKER 1 messaged MIZUHARA

stating “I know you’ve been on a bad run. I don’t mind bumping

u, I just want to verify that you can send at least 2M on

June 1.”

           d.    On or about June 22, 2023, MIZUHARA messaged

BOOKMAKER 1 stating “I got my ass kicked again lol . . . . Any

chance I can get one last bump? This will be my last one for a

while if I lose it. . . .”      BOOKMAKER 1 responded the same day,

“Ok bud. I just want to be able to communicate with my partner

so he knows expectations. If I can assure him that minimum 500

will be sent every week I can do the bump to whatever you want?

It’s just imperative that the 500 is sent every week as you can

imagine the figures are very high and just don’t want to not be

able to deliver what I tell him[.]        FYI I have already paid out

of my pocket to him half of the balance that is on the account

so whatever is lost every week I have to give him half of the
balance that’s why I’m asking these direct important questions.”

           e.    On or about June 23, 2023, MIZUHARA messaged

BOOKMAKER 1 stating “I’m the worst lol . . . can’t catch a

break. . . . Can I get one last bump? I swear this is gonna be

my last until I get the balance down significantly . . . . I

promise this will be the last bump for a while.”          BOOKMAKER 1

responded the same day, stating “Ok np. Done.”

           f.    On or about June 24, 2023, MIZUHARA messaged
BOOKMAKER 1 stating, “I have a problem lol. . . . Can I get one


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last last last bump? This one is for real. . . . Last one for

real[.]”   BOOKMAKER 1 responded the same day, stating “Done ✔

‫ܥ‬. I have the same problem ●
‫ܤ‬
‫ܣ‬                          ◕. To be honest with you Ippie, as
                           ◔
                           ◓
                           ◒
                           ◑
                           ◐

long as you can guarantee the 500 every Monday I’ll give you as

much as you want because I know you’re good for it[.] again I

just have to clean it up with my partner and that’s one reason

why I was asking before.”

           g.    On or about November 17, 2023, BOOKMAKER 1

messaged MIZUHARA stating, “Hey Ippie, it’s 2 o’clock on Friday.

I don’t know why you’re not returning my calls. I’m here in

Newport Beach and I see [Victim A] walking his dog. I’m just

gonna go up and talk to him and ask how I can get in touch with

you since you’re not responding?         Please call me back

immediately.”

           h.    On or about November 19, 2023, MIZUHARA messaged

BOOKMAKER 1 stating “I’m gonna be honest, I ended up losing a

lot of money on crypto the last couple years and I took a huge

hit obviously with the sports too. . . . Just wanted to ask, is
there any way we can settle on an amount?         I’ve lost way too

much on the site already . . . of course I know it’s my fault.”

           i.    On or about December 15, 2023, BOOKMAKER 1

messaged MIZUHARA stating “I know ur busy but u Need to show

some respect. I put my neck out here. Call me by Tonight. I

don’t care what time or how late it is.”         MIZUHARA responded the

same day, stating “I’m so sorry bro . . . I really don’t mean to

disrespect you at all I promise . . . it’s just been super super
busy . . . and I’ve got other issues on the side going on too. .


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. everything has just been really really tough recently. I don’t

think you ever gave me the new [Bank A] account info

. . . could I please get that? Imma [sic] try to send something

tomorrow.”    BOOKMAKER 1 then messaged MIZUHARA account

information for an account at Bank A with an account number

ending x1530 (the “x1530 Account”).

             j.   On or about January 6, 2024, BOOKMAKER 1 messaged

MIZUHARA stating “you’re putting me in a position where this is

going to get out of control. If I don’t hear from you by the end

of the day today it’s gonna [sic] be out of my hands.”           MIZUHARA

responded the same day, stating “My bad man. . . . I just got

back from Japan two days ago and I’m leaving tomorrow again

. . . I’ll be back in mid January. To be honest with you, I’m

really struggling right now and I need some time before I start

to make payments.”

D.    MIZUHARA’s Betting Records Show MIZUHARA Lost Millions of

      Dollars Betting with BOOKMAKER 1

      18.    A source in BOOKMAKER 1’s organization is cooperating
with law enforcement and provided the betting history for

account 35966 for the period December 2021 through January 2024.6
As previously described, I understand that MIZUHARA was assigned

betting account number 35966 based on text messages found on

MIZUHARA’s Phone.



      6The source has not yet been charged for his role in the
illegal gambling business, but I believe he is cooperating with
law enforcement in hopes of receiving benefits at the time of
sentencing on any future charges.

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      19.   I have reviewed an Excel spreadsheet with the betting

history for account 35966 (the “35966 Records”) provided by the

cooperating source for the period December 2021 through January

2024.7    Based on this review of the 35966 Records, I am aware of

the following:

            a.    The 35966 Records reflect approximately 19,000

wagers between December 2021 and January 2024, and nearly 25

bets per day on average.      The wagers reflected in the 35966

Records ranged in value from roughly $10 to $160,000 per bet,

with an average bet amount of roughly $12,800.          During this

period, the 35966 Records reflect total winning bets of

$142,256,769.74, and total losing bets of $182,935,206.68,

leaving a total net balance of negative $40,678,436.94.8

            b.    The 35966 Records do not reflect any bets on

baseball games.

E.    Account Records for the x5848 Account Show Millions of

      Dollars in Wire Transfers and Transactions

      20.   I and/or members of the Investigative Team that I have
spoken with have reviewed bank statements for the x5848 Account

for Victim A.     Based on my review of these bank records, I am

aware of the following:


     7 Based on my training, experience, and knowledge of this
investigation, I know that illegal sports books typically keep
records only under anonymous assigned numbers rather than under
bettors’ names.
      8As noted above, some of this betting activity may have
been so-called “freeplay” and thus not counted against the
bettor’s actual losses, but based on my review of the messages
between BOOKMAKER 1 and MIZUHARA extracted from the MIZUHARA
Phone, I believe that total freeplay was less than $500,000.

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           a.    The x5848 Account was held in the name of Victim

A and was opened in or about March of 2018.

           b.    The x5848 Account was almost exclusively funded

by deposits identified as payroll, in the name of a Major League

Baseball (“MLB”) club located in Southern California, for which

Victim A played baseball during this time period.

           c.    On November 15, 2021, the x5848 Account posted a

debit transaction for $40,010 to Xoom.com, a PayPal service.

Based on my training, experience, and knowledge of this

investigation, I believe this was the first unauthorized wire

transfer from the x5848 Account by MIZUHARA.         Based on the

timing and amount of this transfer, I believe it reflects the

transaction discussed in the text message from MIZUHARA to

BOOKMAKER 2 discussed above.

           d.    Between February 2022 and October 2023, the x5848

Account wired at least $15,000,000 to the x1911 Account.

Certain of these wires coincided with communications between

MIZUHARA and BOOKMAKER 1 where MIZUHARA stated that he
(MIZUHARA) had recently wire transferred funds to the x1911

Account.   For example:
                 i.    On November 15, 2021, $40,010 was wire

transferred from the x5848 Account to Xoom.com.          As noted above

in paragraph 15(k), on or about this date, MIZUHARA told

BOOKMAKER 1 that he (MIZUHARA) had initiated a wire for $40,000.

                 ii.   On or about May 16, 2023, $500,000 was wire
transferred from the x5848 Account to the x1911 Account.           As




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noted above in paragraph 15(u), on or about this date, MIZUHARA

told BOOKMAKER 1 that he (MIZUHARA) had initiated a wire for

this same amount.

                 iii. On or about June 20, 2023, $500,000 was wire

transferred from the x5848 Account to the x1911 Account.           As

noted above in paragraph 15(v), on or about this date, MIZUHARA

told BOOKMAKER 1 that he (MIZUHARA) had initiated a wire for

this same amount.9

           e.    Between December 15, 2023, and January 8, 2024,

the x5848 Account wired more than one million dollars to the

x1530 Account, for which, as discussed above (see supra

paragraph 17(i), the account information was provided by

BOOKMAKER 1 to MIZUHARA via a December 15, 2023 message

following MIZUHARA’s claim that he would initiate a wire to pay

down his balance to BOOKMAKER 1 on the same day.

           f.    I also observed numerous transactions at eBay and

Whatnot from the x5848 Account.       Specifically, I counted more

than $325,000 in funds transferred from the x5848 account to
eBay and Whatnot between January and March 2024.10




     9 Based on public records, I am aware that MIZUHARA and
Victim A were in the Central District of California on this day
for a baseball game.
     10 According to its website, Whatnot is an online
marketplace where users can purchase products, e.g., baseball
cards.


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F.    Account Records Produced by Bank A Connect MIZUHARA to the

      Transfers from the x5848 Account

      21.   I and/or members of the Investigative Team that I have

spoken with have reviewed account records for the x5848 Account

produced by Bank A.     Based on my review of these account

records, I am aware of the following:

            a.   The signature card for the x5848 Account

identifies Victim A as the only signatory on the x5848 Account.

            b.   MIZUHARA also maintains an account at Bank A in

his own name (the MIZUHARA Account).

            c.   Between October 2021 and February 18, 2024, Bank

A call logs identified multiple calls received from a telephone

number ending in x0373 regarding both the x5848 Account and the

MIZUHARA Account.     Based on my review of the MIZUHARA Phone, I

know that this same telephone number is assigned to the MIZUHARA

Phone.

            d.   Bank A maintains login information for devices

which access Bank A accounts through the internet.          Between 2018
and October 27, 2021, there was no online access activity for

the x5848 Account; however, approximately one month after

MIZUHARA was granted access to BOOKMAKER 1’s gambling website,

on October 27, 2021 (the same day BOOKMAKER 2 messaged MIZUHARA

that BOOKMAKER 1 wanted to settle MIZUHARA’s losses, see supra
paragraph 15(d)), the x5848 Account was accessed through the

internet for the first time since 2018.        Approximately two weeks

later, between November 9-15, 2021, the x5848 Account was
repeatedly accessed through the internet.


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           e.    Each device that is used to access a Bank A

account through the internet is assigned a unique identification

number by Bank A’s systems (a “DeviceID”).         Bank A also logs the

internet protocol address (an “IP address”)11 used by that
specific device for each login.

           f.    Between 2021 and March 2024, Bank A recorded

several unique DeviceIDs accessing both the x5848 Account and

the MIZUHARA Account within days of one another.          These

instances include:

                 i.    Between October 30, 2021, and November 3,

2021, a device that Bank A designated as DeviceID 647519282 (the

“9282 DeviceID”) accessed the MIZUHARA Account multiple times.

The 9282 DeviceID also accessed the x5848 Account multiple times

between October 27, 2021, and May 5, 2023.

                 ii.   Between February 4, 2022, and March 24,

2022, the 9282 DeviceID accessed the x5848 Account and

transferred $900,000.00 using IP address 70.166.204.194.           This

same IP address was also used to access the MIZUHARA Account
between February 25, 2021, and March 31, 2022.
                 iii. Between April 27, 2022, and June 27, 2022,

the 9282 DeviceID transferred $1,200,000.00 from the x5848


       Based on my training and experience, I know that an IP
      11
address is a unique identifying number assigned to a device that
is connected to the internet through a network which allows
devices on a network and the internet to differentiate between
one another. I also know that a device’s IP address will often
change when a device switches between different networks or even
when a device disconnects and reconnects to a single network.
For this reason, a DeviceID assigned by Bank A to a single
device may be associated with different IP addresses at
different periods in time.

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Account using IP address 136.52.16.173.        This IP address was

also used to access the MIZUHARA Account between April 7, 2022,

and February 7, 2024.       Furthermore, according to the betting

history in the 35966 Records, approximately three wagers

totaling $233,386.00 were made on October 26, 2023, using this

same IP address.
G.    MIZUHARA Lied to Bank A Employees to Circumvent Bank A’s

      Security Procedures and Execute Wires From the x5848

      Account

      22.    I and/or members of the Investigative Team that I have

spoken with have reviewed recordings of phone calls disclosed by

Bank A. Based on a review of these recordings, I am aware of the

following:

             a.     On or about February 2, 2022, MIZUHARA called

Bank A, using the x0373 phone number associated with the

MIZUHARA Phone, and attempted to access the x5848 Account to

wire funds.       During this call, MIZUHARA falsely identified

himself as Victim A,12 and falsely stated that he was attempting

to wire funds to BOOKMAKER 2 for a car loan.         This request was

unsuccessful, and Bank A froze online transactions for the x5848

Account.

             b.     On another call on the same day, a different Bank

A employee spoke with MIZUHARA, using the x0373 phone number



       I recognized MIZUHARA’s voice based on a recording of an
      12
attempted interview of MIZUHARA on or about March 21, 2024, at
Los Angeles International Airport, which I have reviewed.
Moreover, x5848 Account’s owner Victim A does not speak English
fluently, while the caller spoke fluent English.

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associated with the MIZUHARA Phone, regarding the suspension of

online banking on the x5848 Account.        During this call, MIZUHARA

again falsely identified himself as Victim A, and responded to

security challenge questions by giving the Bank A employee

biographical information for Victim A.        As a result of this

call, MIZUHARA was able to successfully lift the online banking

suspension on the x5848 Account.

            c.   On or about February 4, 2022, a different Bank A

employee spoke with MIZUHARA, using the x0373 phone number

associated with the MIZUHARA Phone, in order to verify a new

attempted wire transfer of $300,000 from the x5848 Account to

BOOKMAKER 2.     During the call, MIZUHARA again falsely identified

himself as Victim A.

      23.   Bank A records show that the registered phone and

email address for the x5848 Account were the x0373 phone number

associated with the MIZUHARA Phone and an anonymous Gmail email

account (“Email Address 1”).       As part of my review of the

forensic image of the MIZUHARA Phone, I know the following:
            a.   As discussed above, the phone number ending x0373

is associated with the MIZUHARA Phone; and

            b.   Email Address 1 was associated with information

found on the MIZUHARA Phone.       Specifically, cookies13 on the



       Based on my training and experience, I know that
      13
“cookies” are files containing identifying data that are used to
identify a device connected to a network, in order to identify
specific users and allow a server to send information to that
device specially intended for that user. For example, if a user
permits cookies to be stored on a device, a website may
recognize a device that has previously connected to that

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MIZUHARA Phone associated Email Address 1 with a PayPal account

found on the MIZUHARA Phone.

            c.   Email Address 1 has a similar format and

numbering to Victim A’s actual email address.14
H.    Victim A Denied Giving MIZUHARA Access to the x5848 Account

      or Approving the Wires from the Victim Account

      24.   On April 2 and 3, 2024, I and the other members of the

Investigative Team interviewed Victim A, who was assisted by a

court-certified Japanese-language interpreter.          Based on Victim

A’s statements during that interview, as well as my knowledge of

the investigation, I am aware of the following:

            a.   Victim A first met MIZUHARA in approximately 2013

while Victim A was playing professional baseball in Japan.

            b.   Towards the end of 2017, Victim A came to the

United States from Japan to play baseball for an MLB club in

Southern California.     Victim A did not speak English at that

time, and speaks only limited English at present.

            c.   When Victim A’s intent to transfer to MLB became

public, MIZUHARA contacted Victim A and offered to be Victim A’s

translator in the United States.

            d.   After arriving in the United States, MIZUHARA was

employed by Victim A’s MLB club as a translator for Victim A.




website, and provide that user with information that
incorporates their prior interactions with the website.
     14 I and/or members of the Investigative Team I have spoken
with have been informed of Victim A’s actual email address by
Victim A’s counsel.


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In this capacity, MIZUHARA’s responsibilities were to translate

for Victim A.

           e.    In addition, Victim A separately employed

MIZUHARA to act as a de facto manager and assistant for Victim

A.   In this capacity, MIZUHARA would drive Victim A, handle

daily tasks for Victim A, and translate and manage certain of

Victim A’s business and personal matters outside of MLB.

           f.    In or about 2018, MIZUHARA accompanied Victim A

to a Bank A branch in Arizona to assist Victim A in opening the

x5848 Account, and translated for Victim A when setting up the

account details.

           g.    Victim A’s salary from playing professional

baseball was then deposited into the x5848 Account.

           h.    Victim A received additional income from numerous

sources, including endorsements and investments; however, those

funds are not deposited into the x5848 Account.

           i.    Victim A’s domestic endorsements and related

income were managed by Victim A’s sports agent (“Agent 1”), a
professional bookkeeper retained by Agent 1 (J.C.), a financial

manager (B.L.), and a professional tax preparer and accountant

(K.F.).

           j.    MIZUHARA always accompanied Victim A to meetings

with Agent 1.    MIZUHARA also accompanied Victim A to meetings

with Victim A’s accountants and financial advisors, but Victim A

recalled that there were only one or two such meetings.           None of

Victim A’s agents, accountants, or financial advisors spoke




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Japanese and Victim A relied on MIZUHARA to translate the

conversations with those individuals.

           k.    Victim A stated that he believed that Agent 1,

his accountants, and financial advisors were monitoring all of

his accounts, including the x5848 Account.

           l.    Because Victim A received income from a range of

both foreign and domestic sources, Victim A generally would not

ask MIZUHARA to inquire about specific accounts, and instead,

would ask MIZUHARA to inquire with the above-identified

financial professionals for an overall picture of his income or

investment profile.

           m.    Victim A never authorized any wires to the x1911

Account or to Associate 1, BOOKMAKERS 1, 2, or 3, or the named

accountholder on the x1530 Account.

           n.    Victim A never gave MIZUHARA control over any of

Victim A’s financial accounts, including the x5848 Account.

           o.    Victim A stated that he did not recognize Email

Address 1 that was listed as the primary email address for the
x5848 Account.

           p.    The first time Victim A learned that MIZUHARA had

gained access to the x5848 Account was on or about March 20,

2024, after an MLB game in Seoul, Korea.         Following the game,

Victim A’s team was assembled by team management in the locker

room, and members of team management addressed the players,

followed by MIZUHARA addressing the entire team, in English.            No

one translated what was said at this meeting to Victim A, and he
did not understand most of what was said in English, but Victim


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A was able to understand there was an issue involving MIZUHARA.

Following the team meeting, Victim A asked MIZUHARA what the

issue was, and MIZUHARA told Victim A that they needed to speak

privately.

             q.   Victim A and MIZUHARA then spoke at the team’s

hotel later that evening. During that conversation at the hotel,

MIZUHARA disclosed to Victim A for the first time that MIZUHARA

had substantial debts from illegal gambling, and that MIZUHARA

had been paying his bookmaker with funds from the x5848 Account.

MIZUHARA also told Victim A during that meeting that MIZUHARA

had falsely told Agent 1 and others that Victim A had agreed to

loan MIZUHARA money to pay his (MIZUHARA’s) gambling debts.

I.    Professionals Working for Victim A Confirmed that MIZUHARA

      Denied Them Access to the x5848 Account

      25.    I and the other members of the Investigative Team also

interviewed the above-identified financial professionals working

for Victim A.

      26.    On or about March 25, 2024, I and/or other members of
the Investigative Team I have spoken with interviewed Agent 1,

and based on this interview, I am aware of the following:

             a.   Agent 1 is a professional sport agent and does

not speak Japanese.     Agent 1 works for a talent and sports

agency based in Los Angeles.

             b.   Agent 1 has represented Victim A since

approximately 2018.




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            c.   In addition to negotiating sports contracts for

Victim A, Agent 1 also negotiates domestic endorsements and

other business deals for Victim A.

            d.   Agent 1’s agency does not employ any individuals

who speak Japanese, but Agent 1 will occasionally hire Japanese-

language interpreters to communicate with his clients.

            e.   Agent 1 did not hire an interpreter to

communicate with Victim A because MIZUHARA always accompanied

Victim A.

            f.   Agent 1 did not speak directly to Victim A or

regularly exchange text messages with Victim A.          Instead, Agent

1 relayed messages to Victim A through MIZUHARA.

            g.   Agent 1 retained and oversaw financial

professionals to manage Victim A’s domestic income, both from

playing baseball and from endorsements.

            h.   Agent 1 was aware of the x5848 Account and asked

MIZUHARA on multiple occasions about the account.          MIZUHARA told

Agent 1 that the x5848 Account was “private” and that Victim A
did not want anyone else to monitor that account.          Agent 1

stated that he did not confirm these representations directly

with Victim A, but stated that he had no reason not to believe

MIZUHARA.

      27.   On or about March 29, 2024, I and/or other members of

the Investigative Team I have spoken with interviewed witness

J.C., and based on this interview, I am aware of the following:

            a.   J.C. is a professional bookkeeper employed by
Agent 1 to keep track of Victim A’s business accounts.


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            b.   J.C. monitors a range of Victim A’s business

accounts, executes transactions as directed by Agent 1, and

collects and distributes materials and documents needed to

prepare Victim A’s taxes.

            c.   J.C. was familiar with a number of Victim A’s

business accounts, and expressed familiarity with the balances,

operations, and transactions in those accounts.

            d.   J.C. was generally aware of the x5848 Account,

but stated that he/she had never been given access to this

account, and did not know its balance or have any insight into

activity in this account.

            e.   J.C. was concerned that the lack of access to the

x5848 Account created possible tax liability for Victim A if the

x5848 Account accrued unreported interest or was used to make

gifts in amounts necessary to be reported to the IRS.           When J.C.

inquired with Agent 1 about gaining oversight over the x5848

Account for tax preparation purposes, Agent 1 informed J.C. that

MIZUHARA had stated that Victim A wanted the x5848 Account kept
private and that he understood that the x5848 Account did not

accrue interest or make gifts.

      28.   On or about April 1, 2024, I and/or other members of

the Investigative Team interviewed witness B.L.          Based on this

interview, I am aware of the following:

            a.   B.L. is a professional financial adviser and was

retained by Agent 1 to manage Victim A’s domestic investments

and assets.




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            b.   B.L. has been working for Victim A for

approximately five years.

            c.   B.L. does not manage Victim A’s Japan-based

investments or assets.

            d.   While B.L. oversaw most of Victim A’s domestic

accounts and investments, B.L. was never given access to or

information about the x5848 Account.

            e.   B.L. asked Agent 1 for information about any

funds held in the x5848 Account so that those funds could be

considered in Victim A’s overall investment profile, but Agent 1

informed B.L. that MIZUHARA had stated Victim A considered the

x5848 Account private and did not want anyone else to view that

account.

      29.   On or about April 1, 2024, I and/or other members of

the Investigative Team I have spoken with interviewed witness

K.F., and based on this interview, I am aware of the following:

            a.   K.F. is an accountant and was retained by Agent 1

to prepare and file Victim A’s domestic taxes.
            b.   K.F. only met Victim A one time, for an

introductory meeting, and otherwise received all instructions

from Agent 1 or MIZUHARA.

            c.   While K.F. received information about most of

Victim A’s accounts and investments in order to prepare Victim

A’s tax returns, including Victim A’s Japan-based assets, K.F.

was never given information about the x5848 Account.

            d.   In or about October of 2022, K.F. was scheduled
to meet with Victim A and MIZUHARA, but only MIZUHARA arrived


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for the meeting.     MIZUHARA stated that Victim A was sick, and

unable to join the meeting.      During that meeting, K.F. asked

MIZUHARA about the x5848 Account, and stated that Victim A

risked filing incorrect tax returns if there was interest being

generated by any funds in the x5848 Account or any gifts from

that account which triggered tax reporting requirements.

MIZUHARA responded that Victim A wanted the x5848 Account kept

private from everyone, and that the x5848 Account did not bear

interest and that there were no gifts from the x5848 Account.

J.    Memorabilia Connected to Purchases From the x5848 Account

      was Mailed to MIZUHARA Under a Pseudonym

      30.   I and/or other members of the Investigative Team that

I have spoken with interviewed an employee of Victim A’s current

MLB club (“Club Employee 1”).       Based on this interview of Club

Employee 1, I am aware of the following:

            a.   Club Employee 1 works in the team’s clubhouse and

at times handles mail sent to the team and players.

            b.   MIZUHARA spoke to Club Employee 1 in or about
January 2024, and asked that Club Employee 1 receive and set

aside packages which were going to be mailed to the clubhouse

for MIZUHARA under an alias.

            c.   Based on my review of the MIZUHARA Phone, I know

that the MIZUHARA Phone was used to access an email account and

websites under the name “JayMin” according to cookies saved on

the device.

      31.   I have inspected multiple packages which were received
by Club Employee 1, and addressed to “Jay Min” and Club Employee


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1.   Certain of these package had already been opened when I

received them.    Inside of these packages were baseball cards

which appeared to be in protective cases for collecting.

      32.   With consent from MIZUHARA and his counsel, I have

also taken possession of several additional briefcases and boxes

that were found inside a vehicle used by MIZUHARA.          Inside the

briefcases and boxes were additional baseball cards, including

cards for baseball players Yogi Berra, Juan Soto, and Victim A.

The Investigative Team is still attempting to inventory all of

the baseball cards but I estimate that there were approximately

1,000 baseball cards in the briefcases and boxes.

      33.   As described above, I reviewed the x5848 Account and

observed approximately $325,000 in transactions at eBay and

Whatnot between January and March 2024.        I understand that both

websites are frequently used to buy and sell baseball cards,

among other items.     Based on my training, experience, and

knowledge of this investigation, I believe that MIZUHARA used

the x5848 Account to purchase the above-described collectible
baseball cards from eBay and Whatnot with the intent to resell

them at a later date.

K.    MIZUHARA Falsely Stated to the Press that Wires From the

      x5848 Account Were a Loan from Victim A to MIZUHARA

      34.   I am aware of press reports that MIZUHARA told an ESPN

reporter that Victim A had agreed to pay MIZUHARA’s gambling

debts. I do not find MIZUHARA’s statements to be credible for

the following reasons:




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           a.    As noted above, I and/or members of the

Investigative Team that I have spoken with have reviewed an

extraction of the MIZUHARA Phone, which contained voluminous

messages between Victim A and MIZUHARA in Japanese. An HSI

Special Agent who is a fluent and native speaker of the Japanese

language reviewed approximately 9,700 pages of text messages

between Victim A and MIZUHARA between 2020 and 2024. Based on

his review, I am aware of the following:

                 i.    There was no discussion of sports betting

between MIZUHARA and Victim A in the MIZUHARA Phone.

                 ii.   There was no discussion between MIZUHARA and

Victim A that mentioned BOOKMAKERS 1, 2, or 3, Associate 1, or

the named accountholder of the x1530 Account.

                 iii. There was no discussion between MIZUHARA and

Victim A of odds, wagering, or any other reference which might

indicate Victim A’s knowledge of MIZUHARA’s gambling with

BOOKMAKER 1.

                 iv.   There was no discussion of keeping the x5848
Account private or any direction by Victim A that information

about the x5848 Account should not be disclosed to Agent 1 or

any of the above-identified financial advisers for Victim A.

           b.    As detailed above, I have also reviewed recorded

calls in which MIZUHARA falsely represented himself as Victim A

to Bank A employees on multiple occasions in order to execute

wire transfers from the x5848 Account.        I do not find it

credible that MIZUHARA would have made repeated false statements
to Bank A employees by pretending to be Victim A if Victim A was


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aware of and authorized these wires.         If that were the case,

Victim A and MIZUHARA could have executed the transfers from a

Bank A branch, or added MIZUHARA as an authorized signer on the

x5848 Account.

            c.   I have also obtained gambling records from legal

gambling casinos and websites, including MGM, DraftKings, and

FanDuel.    All three companies found records and a history of

gambling for MIZUHARA, but found no records for Victim A.

            d.   As detailed above, the contact email on the x5848

Account was changed to Email Address 1, which Victim A did not

recognize and which was linked to the MIZUHARA Phone.

            e.   Bank records for the x5848 Account show that the

first wire to BOOKMAKER 1’s associates occurred in November

2021, and the final wire, to the x1530 Account, occurred in

January 2024. I do not find it credible that Victim A would have

repeatedly authorized wire transfers to MIZUHARA while MIZUHARA

continued incurring gambling debts to BOOKMAKER 1 for nearly two

years. Further, I do not find it credible that Victim A would
have agreed to pay MIZUHARA’s gambling debts from the x5848

Account while allowing MIZUHARA to deposit the winnings from his

gambling into MIZUHARA’s bank account.

      L.    Victim A Provided Consent to Law Enforcement to Search

            His Phone

      35.   On March 25, 2024, Victim A provided consent to law

enforcement to search his phone.         An HSI Special Agent who is a

fluent and native speaker of the Japanese language that I have
spoken with reviewed a forensic image Victim A’s phone and did


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not find any evidence to suggest that Victim A was aware of, or

involved in, MIZUHARA’s illegal gambling activity or payment of

those debts.     Specifically, he found the following:

            a.    There was no evidence that Victim A’s phone had

accessed the x5848 Account online.15
            b.    Victim A’s browser history did not contain any

evidence that Victim A had ever accessed the gambling websites

used by BOOKMAKER 1 -- Websites 1 and 2.

            c.    Victim A’s text messages did not contain any

messages that discussed sports betting or MIZUHARA’s gambling

debts.

            d.    Victim A’s text messages did not contain any

messages with BOOKMAKERS 1, 2, or 3, Associate 1, or the named

accountholder of the x1530 Account.        I also found no messages

that referenced BOOKMAKERS 1, 2, or 3, Associate 1, or the named

accountholder of the x1530 Account.

M.    MIZUHARA Admitted to Stealing Funds From Victim A

      36.   As part of my review of the forensic image of the

MIZUHARA Phone, I reviewed encrypted messages transferred via

the “Signal” messaging application.16       Based on my review of

these encrypted messages, I am aware of the following:


     15 Based on my interview of Victim A and my review of the
image of Victim A’s phone, I know that this device had been used
by Victim A since at least early 2023.
       Based on my training and experience, I am aware that
      16
“Signal” is an application which can be installed on most
smartphones which allows encrypted messaging between users of
the application. Messages sent via Signal are end-to-end
encrypted, which means they generally cannot be intercepted in
transit (for example, by means of a wiretap order), but can be

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           a.    On or about March 17, 2024, MIZUHARA messaged

BOOKMAKER 1 stating “Thank you for the call earlier. . . . Do

you think there is any way to find out the details of the

article that’s coming out on LA Times?” BOOKMAKER 1 responded to

MIZUHARA the same day, stating “Hey bud, of course Ty for

calling me. I have no idea what this idiot is printing or trying

to say. I’ve never spoke to him and wasn’t willing to talk to

him although he tried[.] And all my attorney did was give him

those facts I told you and told him the rest she won’t talk

about and can’t confirm or deny anything. He did say his source

was the FBI but I don’t even know if that’s true.”17
           b.    On or about March 20, 2024, MIZUHARA messaged

BOOKMAKER 1 stating, “Have you seen the reports?” BOOKMAKER 1

responded, “Yes, but that’s all bullshit. Obviously you didn’t

steal from him. I understand it’s a cover job I totally get it.”

MIZUHARA then responded to BOOKMAKER 1, “Technically I did steal

from him. it’s all over for me.”
//
//
//




viewed by law enforcement if an end user’s phone is unlocked and
seized. In this case, MIZUHARA gave consent to search the
MIZUHARA Phone and provided a passcode, allowing the
Investigative Team to obtain his Signal messages.
     17 Based on my knowledge of this investigation, I know that
the Federal Bureau of Investigation is not involved in this
investigation.


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                             V.    CONCLUSION
      37.   Based on the foregoing, there is probable cause to

believe that MIZUHARA has committed bank fraud in violation of

18 U.S.C. § 1344(2).

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                                   CHRIS SEYMOUR, Special Agent
                                   Internal Revenue Service



Sworn before me by telephone in accordance with the
requirements of Fed. R. Crim. P. 4.1 on April 1, 2024.



HONORABLE ALKA SAGAR
UNITED STATES MAGISTRATE JUDGE




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